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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

 STATE OF LOUISIANA, et al.,
                                                       CIVIL ACTION NO.
              Plaintiffs,                           2:23-CV-01839-DJP-JVM

       v.                                        JUDGE DARREL PAPILLION

 DEPARTMENT OF HOMELAND                       MAGISTRATE JUDGE JANIS VAN
 SECURITY, et al.,                                    MEERVELD

              Defendants.



     PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
                       MOTION IN LIMINE

      Plaintiffs respectfully oppose Defendants’ motion to prohibit testimony related

to Plaintiffs’ likelihood of success on the merits. See ECF No. 85-1. First, the record

rule does not apply here. Second, Defendants’ position conflicts with their own

introduction of extra-record evidence.

I.    THE RECORD RULE DOES NOT APPLY.

      The “so-called ‘record rule,’” Lewis v. Army Corps of Engineers, 2019 WL

13115362, at *2 (E.D. La. Mar. 28, 2019), is a rule with more exceptions than

applications. The more fundamental rule is that evidence is presumptively

admissible. F.R.E. 402. There are certain circumstances where courts cannot consider

evidence beyond the “administrative record.” But those circumstances are restricted,

and they do not apply here for at least three independent reasons.

      First, there is no administrative record. As the Fifth Circuit has explained,

when “the agency failed to explain administrative action so as to frustrate judicial



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review,” or when “the district court needed to supplement the record with ‘background

information’ in order to determine whether the agency considered all of the relevant

factors,” parties can submit their own evidence. Medina Cnty. Env’t Action Ass’n v.

Surface Transp. Bd., 602 F.3d 687, 706 (5th Cir. 2010). Otherwise, courts would have

no basis for deciding questions without administrative records. See Nat’l L. Ctr. on

Homelessness & Poverty v. Dep’t of Veterans Affs., 842 F. Supp. 2d 127, 131 (D.D.C.

2012) (“[A]bsent an administrative record constituting the materials upon which the

agencies arrived at some decision to which this Court, upon review, might defer,

plaintiffs would likely be entitled to some discovery to enable meaningful judicial

review”). And although Defendants say that Plaintiffs “prevented [the administrative

record] from being lodged,” ECF No. 85-1 at 3, Plaintiffs only opposed Defendants

from using their own failure to lodge the administrative record to prolong Plaintiffs’

right to preliminary relief. See ECF No. 38. If Defendants’ tactic worked, “an agency

would have little incentive to prepare an adequate and reviewable administrative

record.” Citizen Advocates for Responsible Expansion, Inc. v. Dole, 770 F.2d 423, 438

n.18 (5th Cir. 1985).

      Second, this is a preliminary injunction. At the preliminary-injunction stage,

“the trial court should be allowed to give even inadmissible evidence some weight

when it is thought advisable to do so in order to serve the primary purpose of

preventing irreparable harm before a trial can be held.” Federal Sav. Loan Ins. Corp.

v. Dixon, 835 F.2d 554, 558 (5th Cir. 1987); accord Univ. of Tex. v. Camenisch, 451

U.S. 390, 395 (1981). “[A]t the preliminary injunction stage, the procedures in the




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district court are less formal, and the district court may rely on otherwise

inadmissible evidence[.]” Sierra Club, Lone Star Chapter v. F.D.I.C., 992 F.2d 545,

551 (5th Cir. 1993) (citation omitted). Allowing additional evidence comports with the

expectation of “leniency in the preliminary injunction stage.” Dixon, 835 F.2d at 558.

       For that reason, courts routinely allow plaintiffs to submit evidence at the

preliminary-injunction stage of APA challenges. One of the textbook “exceptions” to

the record-rule is “in cases where relief is at issue, especially at the preliminary

injunction stage.” Esch v. Yeutter, 876 F.2d 976, 991 (D.C. Cir. 1989) (emphasis

added). Therefore, “courts have generally permitted extra-record discovery . . . in

preliminary injunction cases.” La Union Del Pueblo Entero v. FEMA, 2011 WL

1230099, at *9 (S.D. Tex. Mar. 30, 2011). “‘[I]n cases where relief is at issue, especially

at the temporary injunction stage,’ [courts] may consider extra-record evidence to aid

us in reaching [a] decision.” Pegasus Equine Guardian Assoc. v. United States Army,

2018 WL 2760339, at *2 (W.D. La. Mar. 9, 2018) (quoting Esch, 876 F.2d at 991),

report and recommendation adopted, 2018 WL 2745985. Last month, the Fifth Circuit

affirmed a preliminary injunction while heavily relying on declarations, much like

the testimony of Plaintiffs’ witnesses here, to show the likelihood of success on the

merits. See All. for Hippocratic Med. v. FDA, 2023 WL 5266026, at *26 (5th Cir. Aug.

16, 2023); see also ECF No. 38 (Plaintiffs’ Opp. to Extension Mot.) at 4-5 (collecting

cases). It would be news to the Fifth Circuit if that were error.

       Third, at any stage, Plaintiffs are entitled to introduce evidence to explain

subjects of a “complex nature.” Arkla Exploration Co. v. Tex. Oil Gas Corp., 734 F.2d




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347, 357 (8th Cir. 1984). When evidence “can be deemed a clarification or an

explanation of the original information,” it is not subject to any record rule.

Association of Pacific Fisheries v. EPA, 615 F.2d 794, 811 (9th Cir. 1980) (Kennedy,

J.); accord Spiller v. Walker, 2002 WL 1609722, at *7 (W.D. Tex. July 19, 2002), aff’d

sub nom. Spiller v. White, 352 F.3d 235 (5th Cir. 2003) (allowing extra-record evidence

“when ‘necessary to explain technical terms or complex subject matter’”). The matters

at issue in this case are complicated, and Plaintiffs’ witnesses’ testimony will

elucidate it.

       At least one more exception is partially relevant here. Plaintiffs are entitled to

introduce evidence at any stage to support constitutional claims. See, e.g., California

v. DHS, 612 F. Supp. 3d 875, 896 (N.D. Cal. 2020) (“[S]everal courts recognize that

discovery may be appropriate for a constitutional claim involving agency action.”);

Florida v. United States, 2022 WL 2431442, at *2 (N.D. Fla. June 6, 2022) (allowing

extra-record evidence for constitutional claims against agency action). Evidence

relevant to Plaintiffs’ Spending Clause claim is therefore admissible for that reason

too. ECF No. 14-2 (Plaintiffs’ PI Mem.) at 40.

       Defendants say that their hardline rule is well-established, but cite only one

Fifth Circuit case, and that case does not help them. See Medina Cnty. Env’t Action

Ass’n v. Surface Transp. Bd., 602 F.3d 687 (5th Cir. 2010). The Fifth Circuit in

Medina County considered circumstances involving none of the three exceptions

above. Id. And it denied the motion to supplement the administrative record not

based on the absolute bar that Defendants suggest, but primarily because the new




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evidence was irrelevant. Id. at 706. That evidence showed how one bird species—the

“golden-cheeked warbler”—reacted to certain industrial development. Id. But that

bird species did not live near the development at issue in the case. Id. The court even

suggested that it still might have admitted the evidence if it “contain[ed] information

potentially adverse to the [agencies’] Decision” or “set out additional factors that the

[agencies] failed to consider.” Id. at 706–07. The Court in Medina County also went

out of its way to observe that courts may allow further evidence when “the agency

failed to explain administrative action so as to frustrate judicial review,” id., which

is the case here.

      Likewise, Defendants cite only a single Supreme Court case, which also does

not help it. That case was about whether district or circuit courts should handle initial

review of certain agency challenges, and it stated in dicta that judicial review of

agency action usually depends on the agency record. Fla. Power & Light Co. v. Lorion,

470 U.S. 729, 743–44 (1985). The Court did not address the scope of that rule or any

of the circumstances present here.

II.   DEFENDANTS’ POSITION CONFLICTS WITH THEIR OWN INTRODUCTION OF
      EXTRA-RECORD EVIDENCE.

      One of the curiosities of Defendants’ position is how to reconcile it with their

own introduction of extra-record evidence for likelihood-of-success considerations in

this case. They have submitted many pages of non-record evidence in the preliminary-

injunction briefing. See, e.g., ECF No. 53-5 (Declaration of Lloyd ‘Tony’ Hake); ECF

No. 47-3 (Declaration of David I. Maurstad). And they have asked this Court to rule

for them on the likelihood-of-success prong based on their own non-record evidence.



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See, e.g., ECF No. 53-2 at 25 (arguing likelihood of success on arbitrary-and-

capricious and contrary-to-law claims based on its non-record declarations).

Defendants’ only explanation for why these declarations may be considered is that

one “elucidates” the record and the other is just “helpful.” ECF No. 53-2 at 3 n.1, 2.

That is a much more lenient tune than the hardline position they are now pushing.

       And if anything, that is the opposite of how the limits on extra-record evidence

are supposed to work. The record rule was supposed to prevent agencies from

reformulating the record after they were sued. “Agency action is to be upheld, if at

all, on the basis of the record before the agency at the time it made its

decision.” Louisiana ex rel. Guste v. Verity, 853 F.2d 322, 327 n.8 (5th Cir. 1988);

accord Texas v. EPA, 690 F.3d 670, 682 (5th Cir. 2012). In fact, the implication of

Defendants’ position is that there is no basis for “uph[o]ld[ing]” its action at this stage.

Verity, 853 F.2d at 327 n.8. After all, how could the Court conclude that the agency

likely “considered important factors,” ECF 14-2 at 29-32, if it may only look to a non-

existent administrative record?

                                           ***

       Finally, Plaintiffs note that the practical importance of ruling on the motion

now may be overblown. Most of Plaintiffs’ witnesses’ testimony at tomorrow’s hearing

will go to irreparable harm and standing. But they will have the right to submit

occasional evidence beyond that. And the Court is free to consider any of their

evidence for any factors at this preliminary stage. The Court also has the option of




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taking Defendants’ motion under consideration, hearing all of Plaintiffs’ witness

testimony, and deciding on its admissibility later.

                                   CONCLUSION

      The Court should deny Defendants’ motion in limine.

Dated: September 13, 2023                     Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that, on this date, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to all CM/ECF participating attorneys. All other counsel will be served

by U.S. Mail, postage paid.

      This the 13th day of September, 2023.

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